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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JOHN DOE I, et al.,
Plaintiffs,
Civil Action

v. No. 03 CV 10284 JLT

PRESIDENT GEORGE W. BUSH, et al.,
Defendants.

 

PLAINTIFFS’ REPLY BRIEF

Introduction

The Plaintiffs respectfully ask this Court to review an extraordinary Claim by the
President ot` the United States: that he has unilateral authority under the Constitution to
commence a premeditated, preemptive invasion of Iraq before any attack on the United
States, its citizens or military or any of its allies has occurred. There is no precedent for
such an exercise of presidential power. In the past, significant prolonged combat
amounting to war has been initiated only to repel attack, never as a preemptive strike.

The Constitution confers upon Congress, not upon the President, the power to
declare war. In the present circumstances, there is an opportunity for Congress to
exercise its Constitutional responsibility, as elected representatives of the American
people, to determine whether this Nation should go to War with Iraq. It has not yet done

So. Before the President commences an undeclared, unconstitutional war, this Court

should intervene, and demand compliance with the core Constitutional principle that only %<"\'

     

 

 

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Congress can commit the country to war. Once the President commences war, it will be
much more difficult for the Court to intervene.

The President seeks to insulate his war-makin g activities from any Constitutional
accountability by raising three threshold defenses - justiciability, Standing and ripeness.
The President, however, is not a monarch, and the Constitution’s allocation of war
powers was designed to restrain his power to commence war in times such as these. The
question whether the conditional October 2002 Joint Resolution of Congress (taken alone
or in conjunction with previous legislative action) constituted a declaration of war Within
the meaning of art. l, § 8 allowing the President, in his sole discretion, to begin a war
with Iraq, is a legal question of enormous consequence, not a political question outside
the scope of judicial power. Now is the right time for the Court to resolve the question.
If the Court waits for the war to begin, the President undoubtedly will claim that the
question has become moot. The plaintiffs, including soldiers who will be drawn into
battle, properly have invoked the Court’s jurisdiction to determine whether the President
has proper Congressional authority to wage a War against lraq.

Argument
I. The Plaintiffs’ Legal Claims Are Justiciable
A. The Judiciary has reviewed the respective war powers of the

President and Congress from this country’s founding through
the last Gulf War.

The respective powers and responsibilities of Congress and the President in the
conduct of war are controversies entirely appropriate for judicial resolution. ln Baker v.
Carr, 369 U.S. 186, 21 l, 217 (1962), the leading case on the “political question”

doctrine, the Supreme Court considered it “error to suppose that every case or

controversy which touches foreign relations lies beyond judicial cognizance,” and stated

 

 

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that the nonj usticiability doctrine is “one of ‘political questions,’ not one of ‘political
cases.”’ Since the nation’s founding, federal courts have reviewed the legality of military
seizures, retaliatory strikes, and covert actions ordered under claims of delegated and
inherent presidential power to conduct warfare. See, e.g., Lz`ttle v. Barreme, 6 U.S. (2
Cranch) 170 (1804); Brown v. United States, 12 U.S. (8 Cranch) 110 (1814); Talbot v.
Seeman, 5 U.S. (1 Cranch) 1 (1801); Bas v. Tz`ngy, 4 U.S. (4 Dall.) 37 (1800). More
recently, in Dellums v. Bush, 752 F. Supp. 1141 (D.D.C. 1990), the court declared that it
was “not prepared to read out of the Constitution the clause granting to the Congress, and
to it alone, the authority ‘to declare war.”’ The Dellums court ruled that the
constitutionality of war in the Persian Gulf without congressional authorization was
justiciable and ng)_t a “political question.” Id. at 1146. The Second Circuit reached a
similar conclusion in Orlando v. Laira':

[T]he constitutional delegation of the war-declaring power to the Congress

contains a discoverable and manageable standard imposing on the

Congress a duty of mutual participation in the prosecution of war. Judicial

scrutiny of that duty, therefore, is not foreclosed by the political question
doctrine.

Orlando v. Laircl, 443 F.2d 1039, 1042 (2d Cir. 1971) (citing Baker v. Carr and Powell v.

Mccormack, 395 U.s. 486 (1969).l

 

1 Courts also have determined whether a state of war in fact exists, absent a congressional

declaration, for the purpose of determining whether war risk clauses in insurance contracts have become
applicable. See, e.g., The Prize Cases, 67 U.S. (2 Black) 635 (1862); United States v. Stana’ard Oil Co.,
178 F.2d 488 (2d Cir. 1949), aff’d 340 U.S. 54 (1950); Queen ]ns. Co. v. Globe & Rutgers Fz`re Ins. Co.,
282 F. 976 (2d Cir. 1922, affd 263 U.S. 487 (1924); Pan American WorldAz'rways, Inc. v. Aetna Casuahjy
& Sur. Co., 368 F. Supp. 1098 (S.D.N.Y. 1973), aff’d 505 F.2d 989 (2d Cir. 1974); Hawkins v. Stale Life
lns. Co., 366 F. Supp. 1031 (E,D. Tenn. 1972). Judicial review of presidential military orders also make it
clear that courts willingly scrutinize the political branches’ conduct of war. See, e.g., The Prz'ze Cases, 67
U.S. (2 Black) 635, 666~71 (1862); Martin v. Mott, 25 U.S. (12 Wheat.) 19, 30 (1827); cf. United States v.
Curtiss- Wright Export Corp., 299 U.S. 304 (1936) (reviewing and sustaining presidential action in the
foreign affairs context as consistent with authority delegated by Congress).

 

 

 

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“Resolution of litigation challenging the constitutional authority of one of the
three branches cannot be evaded by courts because the issues have political implications
...” INS v. Chadha, 462 U.S. 919, 943 (1983). Nor does “the fact that one [branch] has
mechanisms available to guard against incursions into its power by other [branches]
require that the Judiciary remove itself from the controversy by labeling the issue a
political question.” United States v. Munoz-Flores, 495 U.S. 385, 393 (1990). In times
of war, courts have a special duty to ensure that the government does not infringe on
constitutional freedoms See, e.g., New York Times Co. v. United States, 403 U.S. 713
(1971).

This court should meet its responsibility to interpret a Congressional statute, be it
the October Resolution or the War Powers Resolution, even though it may ca11 into
question the constitutionality of the President’s proposed actions. “Under the
Constitution, one of the Judiciary’s characteristic roles is to interpret statutes, and we
cannot shirk this responsibility merely because our decision may have significant
political overtones.” Japan Whalz'ng Ass ’n v. American Celacean Soc ’y, 478 U.S. 221,
230 (1986); see also Marbury v. Madison, 5 U.S. (l Cranch) 137 (1803).

B. The circumstances in this case are dramatically different from
those in Drimm v. Nixon.

In Drinan v. Nz'xon, 364 F. Supp. 854 (D. Mass. 1973), this Court held that the
plaintiffs’ challenge to military activity in Carnbodia raised a political question that was
not justiciable This case, however, differs dramatically from the challenged military
activity in that case.

The Drinan plaintiffs brought their claims as the war in Southeast Asia was

winding down. Prior to commencement of that case, Congress already had passed a

 

 

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series of appropriations financing military operations over the many years of that conflict
and repeatedly had extended the military draft. Several courts already had determined
that such Congressional actions had ratified and authorized War conducted by President
Nixon and his predecessors iri Southeast Asia. See Drinan, 364 F. Supp. at 858, 859
(citing Massachusetts v. Laird, 451 F.2d 26 (lst Cir. 1971); DaCosta v. Laird, 471 F.2d
1146 (2d Cir. 1973); Orlana'o v. Laira', 443 F.2d 1039 (2d Cir. 1971)). By the time
Drinan was decided on August 8, 1973, Cong;ress had enacted legislation disapproving of
the bombing of Cambodia, which was vetoed by President Nixon, and then had reached a
political compromise with the President that barred the Executive Branch from spending
any funds after August 15, 1973, in connection with the bombing of Cambodia (the
“August 15 Compromise”). Drinan, 364 F. Supp. at 860. In construing the August 15
compromise, in light of the long history of military engagement in Vietnam, this Court
found:
No reasonable interpretation exists for the stipulation of an August 15 cut-off date
other than one which presumes that appropriation of funds for Cambodian
military activity had been authorized by Corigress. Viewed any other way, these
acts would be meaningless nullities. As has been pointed out, the courts cannot
make_such a finding in the face of an altemate construction which has some
meaning
Ia'. at 862 (holding that the August 15 Compromise ratified bombing of Cambodia prior
to the cutoff date). This Court recognized that the political branches indeed had
reconciled their respective powers and responsibilities, that the plaintiffs sought
adjudication of a political question already resolved by the political branches, and that the

Court’s intervention was not then required.

The Drinan court’s recognition that the Cambodia bombing was related to the war

in Southeast Asia and that the war had been authorized by Congress was crucial to the

 

 

 

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determination that the suit raised a political question because in either case the
Constitution lodged decisionmaking power to bomb Cambodia in either the President
alone as Commander-in-Chief or in the President and the Congress concurrently. The
circumstances of the threatened invasion of Iraq are altogether different from the
bombing of Cambodia, and make it clear both that Congress must act before the country
Can go to war with lraq, and that this Court must intervene to enforce the Constitution’s
mandates Today, war has yet to commence. Iraq has not attacked the United States or
any ally. Unlike this country’s entry into hostilities already initiated by others in Korea,
Vietnam, and the first Gulf War, this administration has engaged in prolonged
premeditation and planning for a “preemptive” strike against Iraq, prior to the
commencement of any hostilities by any other nation. No emergency requires an
immediate response, nor is any timetable for commencing the war driven by any party
but the administration Without any external exigency, there is ample time and
opportunity to initiate this war, if war indeed is to be waged, after adherence to clear
constitutional procedures designed to ensure that Congress fully deliberates in a decision
to go to war before the attacks begin.

Unlike in Vietnam, no ongoing War has been ratified by Congressional actions.
Congress has yet to pass any appropriations to fund an invasion of lraq. Nor has it
reinstated involuntary conscription to provide military manpower. Unlike the “August 15
compromise,” the October Resolution does not specifically authorize a military invasion

of another country. Congress has yet to engage in any action that can be considered a

constitutional declaration of war against lraq.

 

 

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In purporting to give the President discretion to determine whether to go to war
against lraq, the October Resolution unlawfully delegates to the President a non-
delegable power held by Congress. The unconstitutionality of the delegation is made all
the more clear by the fact that the October Resolution places no time restriction
whatsoever in “1eav[ing] the decision to use force to the discretion of the President.”
H.R. Rep. 107-721 at 40. If this transference of war»making authority to the President
were lawful, then a President in the year 2020 could launch a military invasion against

Iraq based solely on the October Resolution passed in 2002.2 Such a wholesale transfer

 

2 The Defendants proffer the dubious argument that the 1991 act authorizing President George H.W.

Bush to launch the Gulf War - Public Law 102-l - also can be read to authorize the current President to
corrirnence a major new ground war against Iraq. See Defendants’ Brief` at 11-13. The Defendants fail to
recognize that Public Law 102-1, enacted specifically in response to the invasion of Kuwait by lraqi troops,
authorized the President to use military force principally to expel Iraq from Kuwait, in accordance with a
series of resolutions passed by the United Nations Security Council in 1990. See 105 Stat. 3. The primary
military engagement authorized by Congress under that law - to expel iraq from Kuwait - terminated no
later than April ll, 1991, when the United Nations declared that the Gqu War officially was over. See
Peter Spielmann, Security Councz'l Enals Gulf War, Associated Press, April 12, 1991 (reporting that The
United Nations Security Council passed a resolution specifying cease-fire conditions with Iraq on April 3,
1991, and “officially rescinded the state of war” by a second resolution on April 11, 1991, after lraq
formally accepted the cease-fire conditions); Peter Riddell, Robert Graham and Paul Abrahams, T he Gulf
War,' All Hosi‘i'lities Cease, Financial Times (London), February 28, 1991, at Al (reporting that President
George H.W. Bush “officially declared victory and the end of the Gulf war” on February 28, 1991); Pub. L.
105-235 (August 14, 1998), 112 Stat. 1538 (reflecting Congress’s understanding that “hostilities in
Operation Desert Storm ended on February 28, 1991 , and the conditions governing the cease-fire were
specified in . . . Security Council Resolutions 686 (March 2, 1991) and 687 (April 3, 1991)”). The
subsequent Congressional acts cited by the Defendants, Public Laws 102-190 (1991), 105-235 (1998), and
106-113 (1999), do not infuse Public Law 102-l with the vitality the Defendants assert. Those resolutions
are remote in time, and contemplate only a measured use of force by the President to enforce certain terms
of the 1991 United Nations tmce with Iraq (e.g. the enforcement of the no~fly zone) and to protect troops
engaged in that enforcement Contrary to the Defendants’ suggestion, those acts clearly do not constitute,
and were not intended by Congress as, declarations authorizing the President to commence five or more
years hence the colossal military engagement he currently is preparing, namely, a major new ground war
against and continuing occupation of lraq. Indeed Public Law 105"235, the most recent act of Congress
pertaining specifically to iraq’s noncompliance with United Nations resolutions (prior to the October
Resolution), does not explicitly or even implicitly authorize the President to use military force, much less
wage total war, against Iraq, instead merely “urg[ing]” the President to take “appropriate action . . . in
accordance with the Constitutl'on and relevant laws of the United States . . ..” 112 Stat. 1541 (emphasis
supplied). Congress’s emphasis in Public Law 105-235 that any Presidential action must comply with the
Constitution strongly suggests that Congress authorized the President to take “appropriate action” with the
understanding, and on the condition that, the President would seek a declaration of war before initiating a
full-scale invasion of Iraq.

 

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of Congressional power constitutes “a clear abdication of [Congress’s] constitutional
responsibilities.” Drinan at 857.

United States Senator Robert C. Byrd understood that the October Resolution
unconstitutionally delegates war~making authority to the President. ln his October 10,
2002, remarks on the Senate floor, Senator Byrd described the Resolution as “handing the
President unchecked authority to usurp the Constitution and declare War on Iraq.”
Senator Byrd also stated:

The President has said on many occasions that he has not yet made up his mind to

go to war. When he does make up his mind - if he does - then he should come

back to Congress and seek formal authorization Let him use this Iraq resolution
as leverage with the United Nations, if that is what he wants it for, but when it

comes time for the United States to undertake military action, let him come back
to the Congress for authorization

148 Cong. Rec. 810233-07 (Oct. 10, 2002) (Statement of Sen. Byrd), available at
http:\www.westlaw.com.

The constitutional responsibility of Congress under Art. I § 8 is not simply to
acquiesce to the President’s march toward war. Congressional silence in the face of the
Executive Branch’s plans for a military invasion is not equivalent to a Congressional
declaration of war. In accordance with Article I § 8, Congress affirmatively must decide
to send this nation into war where, as here, there is neither an emergency nor an attack
against the United States. Congress has yet to make the decision to invade Iraq. Judicial
intervention is now necessary to prevent the Def`endants from waging war absent a

Congressional declaration of war.3

 

3 Even if this Court determines that the October Resolution is not an unconstitutional delegation of
Congress’s exclusive power to declare war, then this Court must at least acknowledge that, in prescribing
standards for the President’s exercise of that power, it required U.N. approval before any action as drastic
as a ground war and occupation Representative Tom Allen’s (D-ME) comment in the House debate
illustrates this understanding: “[The resolution] authorizes the use of force today through the United
(continued...)

 

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II. Plaintiffs’ Legal Claims Are Ripe

A military invasion of Iraq is imminent. Harm to life and limb of some of the
plaintiffs and plaintiffs’ children thus also is imminent, as is injury to the legal interests
of the plaintiff Members of Congress. All of the plaintiffs’ claims are ripe for
adjudication They cannot be redressed adequately if this Court delays in reaching the
merits of this action

Under Abbot Laboratorz`es v. Gardner, 387 U.S. 136, 149 (1967), the primary
questions in determining ripeness are “the fitness of the issues for judicial decision” and
“the hardship to the parties of withholding court consideration.” The Supreme Court has
since elaborated several factors for assessing whether claims are ripe:

(1) Whether delayed review would cause hardship to the plaintiffs;

(2) whether judicial intervention would inappropriater interfere with

further administrative action; and (3) whether the courts would benefit
from further factual development of the issues presented

Ohl'o Forestry Ass’n., Inc. v. Sierra Club, 523 U.S. 726, 733 (1998),

Delay would cause unconscionable hardship to the military plaintiffs and their
families. Some of the military plaintiffs already are in the zone of danger. Others will be
sent there soon Their families face both the loss of their loved ones and the prospect of
living for weeks, months, or even years with the mental anguish of not knowing whether
those loved ones will be alive the next day. The presence of these plaintiffs in this case
clearly distinguishes it from Dellums, 752 F, Supp. 1141, 1146 (D.D.C. 1990)

(dismissing suit by Merribers of Congress on ripeness grounds).

 

(continued...)

Nations, but it provides no blank check now for unilateral military action” 148 Cong. Rec. H7185 (daily
ed. Oct. 8, 2002). lt would therefore be appropriate for this Court to issue a declaratory judgment
forbidding war against Iraq absent U.N. approval or further congressional action

 

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The Congressional plaintiffs also face complete disenfranchisement, a cognizable
injury under Raines v. Byrd, 521 U.S. 811 (1997). Because a declaration of war or
equivalent authorization requires an affirmative act of Congress, legislators opposing the
war need only muster a majority in one house (or perhaps a large enough minority to
sustain a filibuster) to prevail. Thus, before a war begins, the constitutional default
condition places the power of commencing war in Congress. If this Court waits until the
President actually violates the Constitution by commencing a war, then it will already be
too late. Should the President take the country to war, a return to peace would almost
certainly require a veto-proof vote of a majority in both houses, under practical
circumstances where it clearly will be much more difficult to vote against war. In this
regard, the Dellums decision on ripeness was mistaken That court either did not
understand the important differences in default positions, or wrongly concluded that
Congress was free to decide whether a declaration of war is “pruden ” or constitutionally
required. See Dellums, 752 F. Supp. at 1149-50. In any case, even if such an assertion
about congressional discretion were accurate at the time, the Supreme Court has since
made it clear that Congress cannot avoid decisions constitutionally assigned to it,
particularly when accountability values are at stake. See New York Times Co. v. United
States, 403 U.S. 713 (1971).

Judicial intervention would not “inappropriately interfere with further
administrative action.” In fact, the only scenario where such intervention would delay
Executive war-makin g action would be one in which, after this Court issued an
injunction, Congress chose not to declare war. If Congress does not wish to commence a

war, the Executive has virtually no authority to make war anyway.

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Finally, the courts would not “benefit from further factual development of the
issues presented.” This case presents a legal question: whether the Constitution forbids
the President from commencing war against Iraq without an express declaration of war
by Congress. Further, were this Court to require the development of additional facts
before ruling, it improperly Would elevate this factor over the other two factors discussed
in Sierra Club. The magnitude and likelihood of harm to all the plaintiffs increases with
every passing day.

The Defendants cannot have it both ways on the ripeness issue. In Dellums, the
government argued that the plaintiffs’ claims Were not ripe. ln Conyers v. Reagan, 578
F. Supp. 324 (D. D.C. 1984), the government argued that the plaintiffs’ claims, brought
after the invasion of Grenada had begun, were moot. Under this flawed rationale, there is
never a time when the plaintiffs’ claims in this case could be timely.

This case thus is entirely fit for adjudication The immediate deployment of
troops into the zone of danger in this case is anything but a “contingent future event[],”
Thomas v. Union Carl)ia'e Agrl'cultural Proclucts Co., 473 U.S. 568, 581 (1985). Just as
important, the Members of Congress before this Court seek to perform their branch’s
fundamental constitutional responsibility, to require careful deliberation by “all the
councils of the nation,” before sending people like their military co-plaintiffs to die for
their country.

III. The Plaintiffs Have Standing to Bring Their Claims

A. Each class of plaintiffs has standing

The plaintiffs satisfy the constitutional requirements for standing They have
“suffered ‘injury in fact,’ the injury is ‘fairly traceable’ to the actions of the

defendant[s], and the injury will likely be redressed by a favorable decision.” Bennett

ll

 

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v. Spear, 520 U.S. 154, 162 (1997) (citing Lujan v. Defenders of Vl/ildlife, 504 U.S. 555,
560-61 (1992), and Valley Forge Christian College v. Americans Unitedfor Separation
of Church and State, Inc., 454 U.S. 464, 471-72 (1982)); See also Clinton v. City of New
York, 524 U.S. 417, 430 n.15 (1998); Allen v. Wrz`ght, 468 U.S. 737, 751 (1984).

All of the Plaintiffs satisfy the latter two elements. The causal link between the
Defendants’ threatened actions and the Plaintiffs’ injuries is obvious. The Defendants’
threat to make war against Iraq, without a Congressional declaration of war or equivalent
action, is the direct cause of the danger to the soldier plaintiffs’ lives and safety; of the
threat that family members of service members may lose their loved ones and will suffer
mental anguish; and of the potential disenfranchisement of Members of Congress seeking
to perform their constitutional duty. There also is no question that an injunction
prohibiting defendants from engaging in the threatened conduct, or a declaration that
such conduct would violate the Constitution, would redress the plaintiffs’ injuries.

As to the first element - injury to the plaintiffs - the primary question in standing
analysis is whether “a party has a sufficient stake in an otherwise justiciable controversy
to obtain judicial resolution of that controversy.” Sierra Club v. Morton, 405 U.S. 727,
731 (1972)_ The risk of death or injury confronting the soldier plaintiffs in this case
constitutes precisely such a stake. See Dept. of Commerce v. United States House of
Representatives, 119 S.Ct. 765, 772 (1999),' Clinton v. Cin of New York, 524 U.S. at 430.
A case litigated by soldiers who face death surely will provide “‘that concrete
adverseness which sharpens the presentation of issues upon which the court so largely

depends for illumination of difficult constitutional questions.”’ F last v. Cohen, 392 U.S.

83, 99 (1968) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)). Indeed the lower

 

 

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courts invariably have found that service members have standing to challenge the
constitutionality of a war in which they are ordered to report to the theater of hostilities.
See, e.g., Mottola v. Nixon, 464 F.2d 178 (9th Cir. 1972); Berk v. Laz'rd, 429 F.2d 302,
306 (2d Cir. 1970). Such risks are certainly more concrete and serious than others
considered sufficient to confer standing See, e.g., Lujan, 504 U.S. 555 (holding that
stake in recreational use and aesthetic enjoyment of environmental resources is sufficient
to confer standing).

Moreover, future injuries are perfectly cognizable if, as here, they are “actual or
imminent, not ‘conjectural’ or ‘hypothetical.”’ th`tmore v. Arkansas, 495 U.S. 149, 155
(1990) (citations omitted). “One does not have to await the consummation of threatened
injury to obtain preventive relief.” Blum v. Yaretsky, 457 U.S. 991, 1000 (1982). The
Defendants repeatedly have suggested that war is “inevitable,” and they currently are
sending troops to the Persian Gulf region The possibility of war is more than remote.

The possibility that Congress might actually declare war, and thus place the
plaintiffs in danger through constitutional measures, is irrelevant The injury here is not
merely that the plaintiffs face peril, but that unconstitutional action is increasing their
exposure to peril. The Supreme Court has made clear that plaintiffs have standing if the
injury merely constitutes denial of an opportunity to obtain a benefit or avoid harm. See
Regents of the University of Cali'fornia v. Bakke, 438 U.S. 265 (1978) 280-81 n.14
(holding that harm was denial of opportunity to compete for particular admission slots);
Metropolitan Washz'ngton Airports Auth. v. Citizens for Abatement of A ircraft Noz`se, Inc.,
501 U.S. 252, 265 (1991) (holding that harm was “[c]reation of an impediment to a

reduction in [airport] activity”).

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There also are no prudential reasons for denying standing to the service members.
While the questions the service members ask the Court to decide have “broad social
import,” Gladstone, Realtors v. Bellwood, 441 U.S. 91, 99-100 (1979), they involve
“individual rights” (their own), and the service members themselves are the “litigants
best suited to assert [this] particular claim.” Id. While a war in Iraq would affect all
American citizens, it uniquely and more powerfully would affect soldiers in combat.
Accordingly, the soldier plaintiffs’ claim that they cannot be sent to fight in an
unconstitutional war is neither “abstract” nor a “generalized grievance.” Valley Forge,
454 U.S. at 474-75; see Allen, 468 U.S. at 751; Gladstone, 441 U.S. at 99»-100.

The Defendants raise a series of objections to plaintiff soldiers’ standing The
first, that courts should not award standing to Ly soldiers, even those ordered to the
theater of hostilities, Def. Br. 22, is too extravagant to be maintained Courts (including
this court in Drinans) have granted such standing to soldiers on innumerable occasions h
any other approach would make even the most outrageous assertions of Executive
warmaking power entirely unreviewable.

The Defendants also try to draw a distinction between soldiers ordered to the
theater of hostilities and those who are “merely” on active duty. Def. Br. 19-21. This is
a distinction without a difference A soldier on active duty faces a significant threat of
being sent to fight, particularly when the nation is contemplating a ground war and
occupation Such a soldier would obviously value his life sufficiently to ensure “concrete
adverseness.” Defendants cite no authority for the proposition that only the plaintiff with

the absolute largest stake in a case may have standing, nor could they.

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The Defendants’ claim that John Doe ll also lacks standing, because he has not
proven that he has actually been ordered to the theater of hostilities, also fails. While it is
true that plaintiffs bear the burden of establishing standing, that burden relates to
constructing a successful legal argument, not to providing a polaroid of John Doe 11
standing next to one of Saddam Hussein’s palaces, holding a dated newspaper. The
Defendants ask for sufficient information to determine the identity of the Plaintiffs,
despite the obvious reasons why such “outing” would be harmful to the Plaintiffs. If the
Defendants truly believe that this amount of evidence is necessary, they have established
a prima facie case to give some other Plaintiffs third party standing under NAA CP v.
Alabama. ln that case, Alabama demanded that the NAACP disclose its membership
lists. While the right to keep that information private resided with the members, the
Supreme Court gave the NAACP standing, because confining standing to the members
would force them to identify themselves by bringing suit. While the Supreme Court does
not seem to have contemplated the possibility of a “John Doe” action, it should be clear
that protection of the principle in NAA CP v. Alabama requires either third party standing
or a John Doe action

Applying the same analysis, it is equally clear that the families of military
members also suffer injury in fact. Every danger to a soldier constitutes a danger of loss
to his family members. In fact the soldiers’ family members are more certain to suffer
actual injury in the future than the soldiers are A soldier’s relatives will hear only
occasionally from the soldier or receive confirmation that he is still alive. Mental

anguish will fill the days between these reassurances.

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The Plaintiffl\/lembers of Congress suffer a concrete injury as well. A significant
danger exists that the Defendants, by unconstitutionally commencing a war, will
disenfranchise these legislators This injury resembles the one in Coleman v. Mlller, 307
U.S. 433 (1939), more than the one in Raines v. Byrd, 521 U.S. 811 (1997). (The Raines
Court reaffirmed the validity of Coleman. Raines, 521 U.S. at 821-26.) Coleman
granted standing to Kansas state legislators who claimed that the Lieutenant Governor, by
illegally casting the deciding vote to ratify a federal constitutional amendment, nullified
their vote. The claim before this Court is strikingly similar to the one Coleman. ln both
cases, the Constitution has vested in a particular government department the right and
duty to make a fundamentally important decision ln both cases, an official from another
department has allegedly acted (or threatened to act) illegally, in such a way that the
legislator plaintiffs must face a much heavier burden in achieving the opposite result than
would have been the case if the official had acted legally. Constitutional amendments
can be repealed, just as Congress can forbid continuation of a war the Executive has
undertaken, but the change in default amounts to disenfranchisement, and therefore
confers standing

The Congressional Plaintiffs also meet Raines’s requirements Raines recognized
that standing exists in cases where executive action “nullified” a vote of a Member of
Congress 521 U.S. at 826. The Raines plaintiffs had had an opportunity to vote on the
contested statute, the Line Item Veto Act later struck down in Clinton v. City of New
York. Here, the Plaintiffs have had no such opportunity The Raines plaintiffs would
have an opportunity to vote on future appropriations bills, without any change in the

default rules for passing legislation; should the Raines plaintiffs fail to repeal the Line

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Item Veto Act, their future votes would merely be “diluted,” not “nullified” (if the
President remained free to void particular appropriations, a congressperson’s vote was
less certain to have effect). See Raz`nes, 521 U.S. at 826. Here, the Plaintiffs will
confront a different default, should they wish to keep the nation out of war. Instead of
merely having to convince a majority of one house of Congress to oppose war, they must
either obtain majorities in both houses plus presidential assent, or veto~proof majorities in
both houses See INS v. Chadha, 462 U.S. 919 (1983).

B. If any one plaintiff has standing, this court need not
inquire as to whether the other plaintiffs have standing

The Supreme Court and the First Circuit have affirmed on numerous occasions
that if one party has standing, it does not matter whether other plaintiffs in the case do
not. This is so even when Congressional plaintiffs are involved. See, e.g., Clz`nton v. City
of New York, 524 U.S. 417, 431 n 19 (1998) (“Because both the City of New York and
the health care appellees have standing, we need not consider whether the appellee unions
also have standing to sue.”); Bowsher v. Synar, 478 U.S. 714, 721 (1986) (holding that
because members of National Treasury Employees Union had standing, the Court did not
need to consider whether the NTEU or Members of Congress also had standing); Vz`llage
of Arlz`ngton Hez`ghts v. Metropolitan Housing Development Corp., 429 U.S. 252, 263~64
(1977) (similar); Barrows v. Jackson, 346 U.S. 249 (1953) (similar); Save Our Heritage,
Inc. v. F ederal Aviatl'on Administratz`on, 269 F.3d 49 (1st Cir. 2001) (“It is sufficient for
the case to proceed if at least one petitioner has standing.”) (citing Wash. Legal Found. v.
Mass. Bar Found., 993 F.2d 962, 971~72 (1st Cir. 1993)); Houlton Citl'zens’ Coalition v.
Town of Houlton, 175 F.3d 178, 183 (1st Cir. 1999) (“It is a settled principle that when

one of several co-parties (all of whom make similar arguments) has standing an appellate

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court need not verify the independent standing of the others.” (citing Clinton v. City of
New York, 524 U.S. 417, 431, n.19 (1998)).

C. A soldier’s family has standing to assert claims involving
his rights.

Even if this Court regards the families’ claims as relating to a violation of service
members’ rights, they meet all the requirements for jus tertii standing Singleton v. Wulff,
428 U.S. 106, 112 (1976), requires both injury-in-fact (demonstrated supra) and
satisfaction of prudential considerations F actors in the latter inquiry inelude: “the
relationship of the litigant to the person whose rights are being asserted; the ability of the
person to advance his own rights; and the impact of the litigation on third-party
interests.” Caplin & D)jysdale, Chartered v. United States, 491 U.S. 617, 623 n.3 (1989).
The relationship in this case between soldiers and their families is more intimate than the
doctor-patient relationship in Griswold v. Connecticut, 381 U.S. 479, 481 (1965) (let
alone the relationship between the street»comer contraceptive vendor and the buyer in
Eisenstadt v. Baird, 405 U.S. 43 8, 443-46 (1972)). Regardless of whether a particular
service member might be able to sue on his own behalf without fear of retribution from
superiors, or even to get the case into court in the mad rush of deployment, this Court
should recognize that as a general policy matter service members’ families can vindicate
the soldiers’ rights more easily, and that litigation of this sort effectively can protect the
rights of soldiers generally.

The Defendants themselves have provided two powerful arguments as to why the
family members should have jus tertii standing First, if granting soldiers standing would
interfere with the chain of command, then it makes sense to allow the families to sue in

their stead. The Defendants cannot have it both ways Either the soldiers are the best

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plaintiffs, or their families are Second, if the Defendants believe that the soldiers can
only get standing by essentially revelin g their identities then the rule of NAA CP v.
Alabama makes the families the best plaintiffs to assert the soldiers’ rights There can be
no doubt that, should the soldiers be forced to identify themselves, they would face

retribution from fellow soldiers and superior officers, if not Worse.

IV. The President Has No Unilateral Power to Commence War With Iraq

In the last argument of their biief, the Defendants finally address the merits of the
plaintiffs’ claim. In doing so, they audaciously assert that the President has “unilateral
war-making powers” pursuant to U.S. Const. art. II, § 1, cl. 1 & § 2, cl. 1. Defendants’
Memorandum at 28. This claim for an imperial presidency is precisely what the
Constitution’s division of war powers and responsibilities between Congress and the
Presidency is designed to prevent. The Defendants Would have this Court treat U.S.
Const. art. 1, § 8, giving Congress the power to declare war, as mere surplusage Even a
lesser claim in Dellums _ that “the Executive had the sole power to determine that any
particular offensive military operation no matter how vast, does not constitute was-
making, but only an offensive military attack” -- was roundly rejected as “far too
sweeping to be accepted by the courts.” Dellums, 752 F. Supp. at 1144-1145. “Such an
interpretation would evade the plain language of the Constitution.” Id.

Missile strikes at Iraq and police or peace-keeping exercises in places like
Kosovo, Somalia, I-laiti and Panama, engaged in by past administrations, see Defendants’
Memorandum at 30-31, are not precedent for the War planned by this administration
These were limited actions, many of which had specific Congressional authorization or

were not challenged either by Congress or in courts They pale in nature and scope to the

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proposed commitment to a maj or ground war and occupation of Iraq with hundreds of
thousands of troops If ever a constitutional role for Congress in the initiation of war is
required, it is in these circumstances The plaintiffs rely on their initial brief as to why
the October resolution fails to constitutionally authorize President Bush’s proposed war.
They vigorously dispute that the President’s own constitutional powers, Supreme Court
precedent,4 Executive and Legislative Branch past practice or the October resolution
suffice to authorize the imminent first strike war against Iraq.

Respectfully submitted,

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The Supreme Court cases cited by the Defendants to support their claim of unilateral presidential
war-making power, United States v. Sweeney, 157 U.S. 281 (1895) and Fleming v. Page, 50 U.S. (9 How. )
603 (1850), each address issues related to the war with Mexico, specifically authorized by Congress, c. 16,
9 Stat 9 (May 13, 1846), and do not support the proposition for which they are cited.

 

 

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February 21 , 2003

CERTIFICATE OF SERVICE

l hereby certify that l caused a true copy of the above document to be

served upon the attorney of record for each other party b!:'hnnd-ent ‘ ,` l rr g M €
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Febi“uary 21 , 2003.

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